                                  Case 2:08-cv-08439-R-RC Document 272 Filed 01/07/10 Page 1 of 2 Page ID #:2627



                                    1   John D. Klinedinst, Bar No. 86254
                                        Gregor A. Hensrude, Bar No. 226660
                                    2   Samuel B. Strohbehn, Bar No. 257697
                                        KLINEDINST PC
                                    3   777 S. Figueroa St., 47th Floor
                                        Los Angeles, California 90017
                                    4   (213) 607-2115/FAX (213) 607-2116
                                        jklinedinst@klinedinstlaw.com
                                    5   ghensrude@klinedinstlaw.com
                                        sstrohbehn@klinedinstlaw.com
                                    6
                                        Brent N. Bumgardner, Esq.
                                    7   Edward E. Casto, Jr. Esq.
                                        Barry J. Bumgardner, Esq.
                                    8   Steven W. Hartsell, Esq.
                                        NELSON BUMGARDNER CASTO, P.C.
                                    9   3131 West 7th Street, Suite 300
                                        Fort Worth, Texas 76107
777 S. FIGUEROA ST., 47TH FLOOR
LOS ANGELES, CALIFORNIA 90017




                                   10   817-377-9111/FAX 817-377-3485
                                   11   Attorneys for Plaintiff/Counterdefendant
         KLINEDINST PC




                                        GUARDIAN MEDIA TECHNOLOGIES,
                                   12   LTD
                                   13                             UNITED STATES DISTRICT COURT
                                   14                         CENTRAL DISTRICT OF CALIFORNIA
                                   15
                                   16   GUARDIAN MEDIA                             Case No.       2:08-cv-8439 R (RCx)
                                        TECHNOLOGIES, LTD,
                                   17                                              PLAINTIFF’S NOTICE OF
                                                     Plaintiff,                    SATISFACTION OF JUDGMENT AS TO
                                   18                                              SHERWOOD AMERICA, INC.
                                              v.
                                   19                                              Courtroom:          8
                                        COBY ELECTRONICS                           Judge:              Manuel L. Real
                                   20   CORPORATION; NINTENDO OF                   Magistrate Judge:   Rosalyn M. Chapman
                                        AMERICA, INC.;                             Complaint Filed:    December 22, 2008
                                   21   OVERSTOCK.COM; DELL, INC.;                 Trial Date:         None set
                                        LITE-ON AMERICAS; LITE-ON
                                   22   SALES & DISTRIBUTION, INC.;
                                        SHERWOOD AMERICA, INC.,
                                   23
                                                     Defendants.
                                   24
                                   25   AND RELATED CROSS ACTIONS.
                                   26
                                   27         On July 9, 2009, the Court granted Plaintiff’s application for default
                                   28   judgment against defendant Sherwood America, Inc. (“Sherwood”). See Docket
                                                                                   -1-
                                            PLAINTIFF’S NOTICE OF SATISFACTION OF JUDGMENT AS TO SHERWOOD AMERICA, INC.
                                                                                                       2:08-cv-8439 R (RCx)
                                  Case 2:08-cv-08439-R-RC Document 272 Filed 01/07/10 Page 2 of 2 Page ID #:2628



                                    1   No. 235. The parties have since entered into an agreement which resolves the
                                    2   differences between the parties and satisfies in full Plaintiff’s default judgment
                                    3   against Sherwood.
                                    4
                                    5                                           KLINEDINST PC
                                    6
                                    7   DATED: January 7, 2010                  By: / s / Samuel B. Strohbehn
                                                                                    John D. Klinedinst
                                    8                                               Gregor A. Hensrude
                                                                                    Samuel B. Strohbehn
                                    9                                               Attorneys for Plaintiff/Counterdefendant
                                                                                    GUARDIAN MEDIA
777 S. FIGUEROA ST., 47TH FLOOR
LOS ANGELES, CALIFORNIA 90017




                                   10                                               TECHNOLOGIES, LTD
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         KLINEDINST PC




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                                            PLAINTIFF’S NOTICE OF SATISFACTION OF JUDGMENT AS TO SHERWOOD AMERICA, INC.
                                                                                                       2:08-cv-8439 R (RCx)
